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 Counsel for the Senior Lenders

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

 In re:                                                            )            Chapter 11
                                                                   )
 MIAMI METALS I, INC., et al.1                                     )            Case No. 18-13359 (shl)
                                                                   )
                                    Debtors.                       )            (Jointly Administered)
                                                                   )


  DEBTORS AND SENIOR LENDERS' JOINT OMNIBUS FIRST SUPPLEMENTAL2
 NOTICE OF ORAL DEPOSITIONS OF THE REPRESENTATIVE(S) OF CUSTOMERS
        PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 30(b)(6)

 To:       THOSE CUSTOMERS LISTED ON EXHIBIT "A"




 1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification number, include:
 Miami Metals I, Inc. (f/k/a Republic Metals Refining Corporation), 15 West 47th Street, Suites 206 and 209, New York, NY 10036
 (3194); Miami Metals II, Inc. (f/k/a Republic Metals Corporation), 12900 NW 38th Avenue, Miami, FL 33054 (4378); Miami
 Metals III LLC (f/k/a Republic Carbon Company), LLC, 5295 Northwest 163rd Street, Miami Gardens, FL 33014 (5833); Miami
 Metals IV LLC (f/k/a J & L Republic LLC, 12900 NW 38th Avenue, Miami, FL 33054 (7604); Miami Metals V LLC (f/k/a R &
 R Metals, LLC), 12900 NW 38th Avenue, Miami, FL 33054 (7848); Miami Metals VI (f/k/a RMC Diamonds, LLC), 12900 NW
 38th Avenue, Miami, FL 33054 (1507); Miami Metals VII (f/k/a RMC2, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (4696);
 Miami Metals VIII (f/k/a Republic High Tech Metals, LLC), 13001 NW 38 Avenue, Miami, FL 33054 (6102), 12900 NW 38th
 Avenue, Miami, FL 33054 (1507); Republic Metals Trading (Shanghai) Co., Ltd., 276 Ningbo Road, Huangpu District, Shanghai,
 P.R. 200001 China (1639); and Republic Trans Mexico Metals, S.R.L., Francisco I. Madero No. 55 Piso 5, Local 409, Centro
 Joyero Edificio Central, Delegación Cuauhtémoc, Mexico DF 6000 (2942).

 2
   This supplements the notice provided to Customers on May 14, 2019. However, this notice is not meant to limit the depositions
 identified on the previous notice, but simply to advise parties-in-interest of specific dates that have been confirmed as to the various
 parties identified on Exhibit A to the original notice.



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          PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 30(b)(6) as

 made applicable to these proceedings by Federal Rules of Bankruptcy Procedure 9014 and 7030,

 the undersigned attorneys for Miami Metals I, Inc., et al., (collectively, the "Debtors") and the

 Senior Lenders, will take the deposition upon oral examination (the "Deposition") of a

 representative(s) of each of those customers listed on Exhibit "A". Pursuant to Fed. R. Civ. P.

 30(b)(6), each customer listed on Exhibit "A" ("You") shall designate one or more officers,

 directors, managing agents and/or authorized representatives who consent to testify on each

 customer's behalf on the topics listed in the annexed Exhibit B (the "Deponent").

          The Deponent shall be required to testify as to each of those matters known or reasonably

 available to You. Please provide notice of the identity of the witness(es) so designated by You to

 counsel for the Debtors no later than August 28, 2019.

          Said examination will be conducted before a certified court reporter authorized to take such

 depositions and will continue from day to day until completed. You are invited to attend and

 participate to the extent permitted by the Federal Rules of Civil Procedure and the Federal Rules

 of Bankruptcy Procedure. Pursuant to Rule 30(b)(3), notice is hereby given that the deposition

 may be recorded by videotape in addition to stenographically.

          PLEASE TAKE FURTHER NOTICE, that the Depositions will be taken for the purpose

 of discovery, for use at hearings and trials, and for all other uses permitted by the Federal Rules of

 Civil Procedure and the Federal Rules of Bankruptcy Procedures.




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  Dated: August 26, 2019                        AKERMAN LLP

                                                By:   /s/John E. Mitchell
                                                        John E. Mitchell
                                                        (Admitted Pro Hac Vice)
                                                        Yelena Archiyan
                                                        (Admitted in New York)
                                                        AKERMAN LLP
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                                                                        -and-




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                                                Counsel for Debtors and Debtors-in-Possession




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                                                   EXHIBIT A


                              SCHEDULE OF 30(b)(6) DEPONENTS

                                                                   Deposition Date and
                        Deponent(s)                                                                           Location
                                                                          Time
     Midwest Refineries, LLC3                                        September 4, 2019 at            Maddin, Hauser, Roth &
     c/o Julie Teicher, Esq.                                              9:30a.m.                   Heller, P.CC.
     Gary D. Bressler, Esq.                                                                          28400 Northwestern
     Nicole Leonard, Esq.                                                                            Highway
     MCELROY, DEUTSCH, MULVANEY &                                                                    Suite 200-Essex Centre
     CARPENTER, LLP                                                                                  Southfield, MI 48034
     225 Liberty Street, 36th Floor
     New York, NY 10281
     Pretium Exploration Inc.4                                      September 24, 2019 at            Friedman Kaplan Seiler &
     c/o Eric Seiler, Esq.                                                 9:30a.m.                  Adelman LLP
     Jason C. Rubinstein, Esq.                                                and                    7 Times Square
     Jamuna D. Kelley, Esq.                                          September 26, 2019              New York, NY 10036-
     FRIEDMAN KAPLAN SEILER & ADELMAN                                    at 9:30 a.m.                6516
     LLP
     7 Times Square
     New York, NY 10036-6516




 3
   For those interested in participating in person at this deposition, please provide the name of any attendees to Esther
 McKean, Esq. (esther.mckean@akerman.com or 407-419-8583) no later than two days before the deposition. For
 those interested in participating remotely, please contact Ms. McKean no later than two days before the deposition to
 make arrangements to participate at an Akerman office, through WebEx and/or other commonly available conference
 software.
 4
   For those interested in participating in person at this deposition, please provide the name of any attendees to Jamuna
 D. Kelley, Esq. at jkelley@fklaw.com or (212) 833-1196 no later than one day before the deposition. For those
 interested in participating remotely, please contact Ms. Kelley no later than one day before the deposition to make
 arrangements to participate through WebEx and/or other commonly available conference software.


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                                                                    Deposition Date and
                        Deponent(s)                                                                            Location
                                                                           Time
     Tiffany and Company5                                             September 13, 2019             Arnold & Porter
     Laurelton Sourcing, LLC                                               9:30a.m.                  250 West 55th Street
     c/o Benjamin Mintz, Esq.                                                                        New York, NY 10019-
     ARNOLD & PORTER KAYE SCHOLER LLP                                                                9710
     250 West 55th Street
     New York, NY 10019

     c/o Charles A. Malloy, Esq.
     ARNOLD & PORTER KAYE SCHOLER LLP
     601 Massachusetts Avenue, NW
     Washington, D.C. 20001




 5
   For those interested in participating in person at this deposition, please provide the name of any attendees to Brendan
 Gibbons, Esq. (Brendan.gibbons@arnoldporter.com or 212-836-8000) no later than one day before the deposition.
 For those interested in participating remotely, please contact Mr. Gibbons no later than one day before the deposition
 to make arrangements to participate through WebEx and/or other commonly available conference software.


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                                                     Exhibit B


                                            Topics of Examination6

         1.       All factual allegations contained in any and all papers You served or filed in the
 Debtors' bankruptcy cases (the "Cases") related to the Ownership Disputes, including, without
 limitation, (i) Your Customer Statement as may be amended, supplemented or modified, (ii) any
 response/reply You filed to the Debtors and/or Senior Lenders' omnibus responses to customer
 statements (Doc. Nos. 637, 648), (iii) any response You filed to the Debtors and Senior Lenders'
 Joint Motion for Summary Judgment as to Bucket 1 Customers (Doc. Nos 937, 938, 939), any
 (iv) proofs of claim..

        2.     Your process for identifying, preserving collecting and producing documents and
 discovery materials required to be produced in this case.

          3.       Your responses to the Debtors' or the Senior Lenders' discovery requests.

          4.       The Debtors' Standard Terms and General Operating Conditions.

         5.      Any and all agreements between You and the Debtors, including, without
 limitation, the negotiation, execution and performance under any such agreement.

        6.     Any course of conduct, course of performance, or course of dealing between You
 and the Debtors.

          7.       The Debtors' refining processes.

        8.     Prior obligations and transactions between You and the Debtors, including the
 Debtors' payment to You for materials: (i) in cash by check or wire; (ii) by deposit to Your Loco
 London metals account; and (iii) the Debtors' transfer to You of like kind metals. Your
 accounting processes related to the Assets subject to your Ownership Dispute.

          9.       Your Loco London account and any other metal account maintained by You.

          10.      Your pool/toll account with the Debtors.

          11.      The Debtors' "Peace of Mined" program.

         12.      The accounting treatment in Your books and records and financial statements of
 all gold, silver, metals, doré or other materials, products, or goods delivered by You to the
 Debtors, including the Assets.




 6
  Unless otherwise indicated, all defined terms contained herein shall have the meaning set forth in the Order
 Approving Uniform Procedures for Ownership Disputes as amended.


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        13.     The process for settlement of or agreement with the Debtors regarding the weight
 and assay of any gold, silver, metals, doré or other materials, products, or goods delivered by
 You to the Debtors.




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